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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
LUKE FIZULICH,                                                             Civil Action No.: 1:22-cv-1190 (DNH/DJS)

                                   Plaintiff,

             -against-                                                     COMPLAINT

DWAYNE KILLINGS (in his individual capacity only),
STATE UNIVERSITY OF NEW YORK AT ALBANY,                                    JURY TRIAL DEMANDED
and MARK BENSON,

                                    Defendants.
-----------------------------------------------------------------------X

        Plaintiff Luke Fizulich (“Fizulich”), by and through his attorneys, Nesenoff & Miltenberg,

LLP, respectfully brings suit against Dwayne Killings (“Defendant Killings”), State University of

New York at Albany (hereinafter “SUNY Albany”), and Mark Benson (“Defendant Benson”),

alleging the following:

                                       NATURE OF THE ACTION

        1.       Fizulich was a Sophomore student and a member of Men’s Basketball at SUNY

Albany at the time of the assault 1 alleged herein. Men’s Basketball at SUNY Albany is a Division

I program.

        2.       His dream was to play college basketball and he worked his entire life to

accomplish his dream, all to have it taken away on November 24, 2021, when Defendant Killings,




1
 The definition of assault as used in the introduction and facts portion of this Complaint refers to the Oxford
Dictionary definition “a physical attack.” Notably, the civil cause of action for assault in a pleading in the
State of New York is defined differently than the dictionary definition, in that the tort of assault is defined
as an “intentional placing of another person in fear of imminent harmful or offensive contact.” Charkhy v.
Altman, 252 A.D.2d 413, 414 (1st Dept. 1998). The civil cause of action for battery in the State of New
York is defined as an “intentional wrongful physical contact with another person without consent.” Id.

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the Head Coach of Men’s Basketball at SUNY Albany, violently and viciously grabbed him, threw

him up against a locker and struck him in the face, drawing blood.

       3.      The violent assault, which occurred in a locker room in Kentucky during a road

game against Eastern Illinois University, was witnessed by every SUNY Albany assistant coach

and basketball player on the team. Notably, neither Defendant Killings, nor any of the other SUNY

Albany assistant coaches who witnessed the assault, reported it to the administration.

       4.      Fizulich did not initially talk about the assault because he was humiliated, because

of “locker room culture,” and because of fear of losing a promised athletic scholarship offer for

the next two years. The environment was such that it was not safe for him to raise this issue and

did not allow him to come forward and report Defendant Killings without repercussion.

       5.      Fizulich could not avoid contact with Defendant Killings, being that he was the

Head Coach, and each and every day he had to endure under his authority caused Fizulich to suffer

further. The violent assault by Defendant Killings took such an emotional toll that towards the

end of the season, Fizulich had a breakdown.

       6.      On the evening of February 26, 2022, Fizulich contacted his long-time trainer and

former coach, who was like a mentor and father figure, and told him of the assault and his distress.

Fizulich’s former coach and mentor, hearing how distraught Fizulich was, immediately traveled

for hours to offer Fizulich emotional support. He convinced Fizulich to tell his parents about the

assault and to report the assault to SUNY Albany administration, to protect himself and the other

players on the team. The assault was reported on February 27, 2022.

       7.      Defendant SUNY Albany conducted an investigation and found Defendant Killings

responsible for the violent assault on Fizulich and for failing to timely report the assault. Upon

information and belief, the finding resulted in a decision by Defendant SUNY Albany and



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Defendant Benson, SUNY Albany’s Athletic Director, to terminate Defendant Killings on March

27, 2022.

       8.         Defendant Killings immediately associated himself with a public relations firm

(“PR firm”), on March 29, 2022, to assist in protesting his termination. The PR firm rallied up

business and civil rights leaders who held a protest on March 30, 2022. The reported assault was

also heavily publicized in the media and the sports arena, and Fizulich was “outed” by a SUNY

Albany employee as the student complainant.

       9.         While the business and civil rights leaders admittedly did not know the facts

underlying SUNY Albany’s decision to terminate, they rallied behind Defendant Killings because

it was their belief that Defendant Killings, as a Black male coach, was an important figure to the

community, particularly young Black males. The business and civil rights leaders further

demanded more transparency of the investigation.

       10.        Rather than discuss its decision, Defendant SUNY Albany and Defendant Benson,

succumbing to the pressure of the protest, reversed the decision to terminate Defendant Killings

on April 1, 2022. Defendant SUNY Albany and Defendant Benson did not discuss the decision to

reverse Defendant Killings’ termination with Fizulich, despite the decision being detrimental to

his well-being.

       11.        Defendant SUNY Albany and Defendant Benson, instead of protecting Fizulich as

the victim of the assault, showed preference to the assaulter because of his race. Notably, Fizulich

is a white male.

       12.        The decision to reverse the termination breached SUNY Albany’s Campus and

Workplace Violence Prevention Policy and Program, of which Fizulich was entitled to rely upon.




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        13.    Defendant SUNY Albany and Defendant Benson knew that Fizulich was unable to

handle playing under the man who physically assaulted him but disregarded his well-being because

of the pressure they received from business and civil rights leaders. Defendant SUNY Albany and

Defendant Benson forced Fizulich to continue his collegiate and basketball career under conditions

that were unbearable.

        14.    Fizulich was distraught over the mishandling of his complaint and the decision to

reverse termination and actively sought transfer to another university with a basketball program

through the transfer portal.

        15.    Although Fizulich was interviewed by several schools, he was advised by those

schools that they did not want him because he was “messy,” meaning that because his name was

associated with the reported assault and publicized, no school would accept him on their basketball

team.

        16.    It was also learned from individuals associated with the collegiate basketball

community that Defendant Killings put a negative word out to other schools about Fizulich which

caused him to be blacklisted.

        17.    It did not matter that Fizulich was the victim, and that Defendant Killings

committed the vicious and violent act, no school would accept Fizulich into their basketball

program.

        18.    All the years that Fizulich worked so hard to accomplish his dream of playing

college basketball at a D1 level (or even a D2 or D3 level) are gone. The assault and the resulting

harm by Defendants Killings, SUNY Albany and Benson have caused Fizulich to suffer from

severe emotional distress, reputational harm, lost educational opportunities and lost occupational

opportunities, which will continue to harm him for the rest of his life.



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                                         THE PARTIES

       19.     Plaintiff Fizulich is a natural person, citizen of the United States, and a resident of

the State of New Jersey. He matriculated at Marquette University in the Fall of 2020 and

transferred to SUNY Albany as a Sophomore in the Fall of 2021.

       20.     During the events described herein, Fizulich was enrolled as a full-time student at

SUNY Albany and was a member of the Men’s Basketball team.

       21.     Defendant SUNY Albany is a principal campus of the State University of New

York (“SUNY”), an Educational Corporation formed and existing under the Education Law of the

State of New York. SUNY Albany’s campus and principal place of business is located at 1400

Washington Avenue, Albany, New York, and within this Court’s jurisdiction.

       22.     Defendant Dwayne Killings was and continues to be the Head Coach of the Men’s

Basketball program at SUNY Albany. While Defendant Killings is an employee of SUNY Albany,

he is named in this suit only in his individual capacity. Upon information and belief, Defendant

Killings is a resident of the State of New York, County of Albany.

       23.     Defendant Mark Benson was and continues to serve as the Athletic Director at

SUNY Albany. Upon information and belief, Defendant Benson is a resident of the State of New

York, County of Albany.

                                JURISDICTION AND VENUE

       24.     The Court has federal question jurisdiction over Defendant SUNY Albany because

the federal law claim arises under the United States Constitution and federal statutes.

       25.     This Court has personal jurisdiction over Defendant SUNY Albany on the ground

that it is conducting business within the State of New York.




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        26.      This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332 over Defendant

Killings and Defendant Benson because there is complete diversity of citizenship: Fizulich is a

citizen of the State of New Jersey, the Defendants are citizens of the State of New York, and the

matter in controversy exceeds $75,000.

        27.      This Court has personal jurisdiction over Defendant Killings and Defendant Benson

because they are residents of the State of New York.

        28.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) because

Defendants reside in this judicial district and a substantial part of the events which give rise to

Fizulich’s claims against Defendants took place in Albany, New York, which is located in this

judicial district.

          FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

I. Fizulich’s background

        29.      Fizulich has loved basketball since he was a child and spent his entire life

developing and improving his skills, with the goal of playing for a Division I level basketball team

and a post-graduate career playing basketball in Europe.

        30.      Fizulich played well during his high school years and was heavily recruited to play

for Division II and III teams. He was also offered preferred walk-on spots by two Division I, Big

East Conference teams, which Fizulich knew would not give him as much playing time as Division

II and III teams but being on the roster of a Division I team opens many doors for future

opportunities in basketball post-graduation, and it was Fizulich’s goal to seek out those

opportunities.




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       31.     Fizulich chose to accept an offer for a preferred walk-on spot at Marquette because

he wanted the opportunities to travel with “the big-time” players and play against Division I teams.

Notably, less than one percent of all high school students become Division I basketball players.

       32.     Defendant Killings was an Assistant Coach of Men’s Basketball at Marquette

University during Fizulich’s Freshman year.

       33.     Fizulich spent all of his Freshman year at Marquette University working out and

practicing with the Big East Conference program. This gave Fizulich a lot of confidence, knowing

that he could compete against these top-rated players. Because of his dedication and hustle,

Fizulich had the opportunity to play in a season game for Marquette.

II. Transfer to SUNY Albany

       34.     In March 2021, Marquette University Head Coach Wojciechowski was terminated

and Defendant Killings, moved to SUNY Albany, where he became the Head Coach of the

Division I Men’s Basketball program.

       35.     Defendant Killings reached out to Fizulich to join the SUNY Albany Men’s

Basketball program as a walk-on, an offer that was quite appealing to Fizulich because although

SUNY Albany was also a Division I team, it was not as grand of a program as Marquette, and he

believed there was more of an opportunity to play and expose his skills as a player.

       36.     Upon a promise by Defendant Killings to Fizulich and his parents that he would be

a featured player, Fizulich believed this to be a huge opportunity for him and agreed to transfer to

SUNY Albany.

       37.     While Fizulich knew Defendant Killings since his senior year of high school, he

did not know him as a Head Coach and had no reason to know of his violent propensities.




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        38.     Fizulich did not play much in the first few games of the season, although he played

well when he was in.

        39.     The team lost their first five games and Defendant Killings was flustered. A few

days prior to the day of the assault, after the team lost to Eastern Kentucky and was 0-4 for the

season, Defendant Killings became verbally abusive and cursed everyone out.

        40.     Fizulich took a charge during the game against Eastern Kentucky and needed three

stitches to repair his lip.

III. Assault by Defendant Killings

        41.     On the date of assault, the team was scheduled to play Eastern Illinois University,

and Fizulich and his teammates were excited to play. They were in the locker room getting ready

and after a team stretch, Defendant Killings walked hastily into the locker room, past the other

players and coaches, grabbed Fizulich and without warning, threw him against a locker and

violently and viciously struck him hard across his face. The contact was so hard that it drew blood

and caused one of the stitches in his lip to burst open.

        42.     The assault was witnessed by all of the other coaches and team members, who were

stunned.

        43.     Throughout the rest of the game, all of Fizulich’s other coaches and teammates

came over to check on Fizulich and see if he was ok. Fizulich remained angry and despondent for

the remainder of the day.

        44.     Defendant Killings told the entire team in the locker room, sometime after he struck

Fizulich, that the reason he did it was because he wanted Fizulich to play angry, and he wanted the

whole team to play angry. Later, Defendant Killings told Fizulich that his “method” didn't work

because the team did not play well that game.



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       45.       The assault was not reported, and Fizulich tried to forget the assault and continue

with the team.

       46.       Fizulich did not talk about the assault because he was humiliated, because of

“locker room culture,” and because of fear of losing a promised athletic scholarship for the next

two years. He thought he was supposed to take that type of physical abuse and continued playing

despite the fear of further physical harm at the hands of his assaulter. However, over the next few

months, his anger turned into frustration, embarrassment, and an increasing fear that Defendant

Killings would assault him again.

       47.       Defendant Killings’ violent outbursts, uncontrollable temper and physical violence

were intimidating, and Fizulich became more and more withdrawn as the season continued, until

finally he could not take it anymore and called his former coach and mentor for help.

       48.       After telling his former coach about the assault, and the coach hearing how

distraught Fizulich was, the coach drove for hours to personally console Fizulich and encourage

him to tell his parents and report the assault to SUNY Albany’s administration.

       49.       The next morning, on February 27, 2022, Fizulich reported the assault.

IV. Investigation and termination by SUNY Albany

       50.       The investigation into the assault started several days after it was reported. Fizulich

advised during his initial meeting with administrators from SUNY Albany that he could no longer

play under Defendant Killings under any circumstances.

       51.       SUNY Albany permitted Defendant Killings to continue coaching two games

despite Fizulich’s report of the assault. In fact, SUNY Albany waited for the season to be over

before removing Defendant Killings from the team on March 9, 2022, pending investigation.




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       52.     Fizulich was informed that Defendant Killings admitted the assault but stated that

it was “an accident.” However, interviews with assistant coaches and other students confirmed

Fizulich’s version of events, that this was a vicious assault and was no accident.

       53.     After completing its investigation, SUNY Albany found Defendant Killings

responsible for assault and upon information and belief, Defendant SUNY Albany and Defendant

Benson decided to terminate Defendant Killings on March 27, 2022.

V. SUNY Albany reverses its decision because of racial pressure

       54.     On March 29, 2022, Defendant Killings became associated with a PR firm to fight

termination.

       55.     Upon information and belief, the PR firm contacted the media and civil rights

leaders to assist Defendant Killings. Fizulich was identified and exposed by the media the same

day, as the student who reported the assault that led to SUNY Albany’s decision to terminate

Defendant Killings.

       56.     Business and civil rights leaders held a rally for Defendant Killings on March 30,

2022, to protest the termination of Defendant Killings, despite the admitted lack of knowledge as

to the cause of the decision to terminate.

       57.     Defendant SUNY Albany and Defendant Benson succumbed to the pressure and

on April 1, 2022, and reversed the decision to terminate because of racial tensions, without

communicating with Fizulich, a white male, and without any care for his well-being. Defendant

Killings was instead given a suspension of five games and a fine.

       58.     The decision by Defendants SUNY Albany and Benson to reverse the decision to

terminate Defendant Killings was purely based on race. Defendant SUNY Albany and Defendant




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Benson, instead of protecting Fizulich as the victim of the assault, showed preference to the

assaulter because of his race.

       59.      In discussions with other coaches, it was learned that coaches in the profession

know what happened to Fizulich and they are all shocked Defendant Killings still remains a Head

Coach at SUNY Albany.

VI.    Defendants SUNY Albany and Benson Violate Policy

       60.      Defendant SUNY Albany promises its students certain community standards to

promote a safe environment. These standards include policies and procedures in place to discipline

clearly prohibited conduct.

       61.      Among the policies in place to protect students at SUNY Albany is the Campus and

Workplace Violence Prevention Policy and Program (“Violence Prevention Policy”).                The

Violence Prevention Policy provides in section A, SUNY Albany’s commitment to zero tolerance

for violence.

       62.      Prohibited conduct under the Violence Prevention Policy, includes: (B.1.) the use

of force with intent to cause harm, including physical attacks, any unwanted contact such as hitting,

fighting, pushing or throwing objects; and (B.3.) Acts or threats which are intended to intimidate,

harass, threaten, bully, coerce, or cause fear of harm whether directly or indirectly.

       63.      Each department chairperson, director, administrator, or supervisor is responsible

for implementing SUNY Albany’s Violence Prevention Policy.

       64.      Upon information and belief, Defendant SUNY Albany and Defendant Benson,

after an investigation confirmed the assault by Defendant Killings, decided to terminate Defendant

Killings, in conformity with SUNY Albany’s zero tolerance Violence Prevention Policy.




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        65.    A few days later, Defendant SUNY Albany and Defendant Benson, succumbing to

the pressure of community and civil rights leaders, reversed course, in violation of the SUNY

Albany’s Violence Prevention Policy, and allowed Defendant Killings to continue to serve as Head

Coach of Men’s Basketball after a five-game suspension. There were no measures in place to

prevent further assaults or harm to Fizulich.

        66.    The reversal of the decision to terminate was racially motivated and placed

Fizulich, the victim of the assault and a member of Men’s Basketball, at great risk of harm.

VII.    Aftermath

        67.    Fizulich placed his name in the basketball transfer portal, which is used by college

basketball players to give notice to other schools of their availability and allows coaches at other

schools to pursue the college athlete requesting a transfer.

        68.    Several schools reached out to Fizulich and interviewed him but would not accept

him because of the media attention that the assault received. It was further learned that Defendant

Killings spread lies and half-truths to other schools about Fizulich, causing him to be blacklisted.

        69.    Fizulich has been unsuccessful in his endeavor to find another school with a

basketball program that would allow him onto their team. As a result, his dreams of playing

basketball in college and pursuing a career in basketball in Europe are shattered, all stemming from

the violent and vicious assault by Defendant Killings, and Defendants SUNY Albany’s and

Benson’s deliberate indifference to Fizulich because of his race.

        70.    Fizulich has been trying to deal with the emotional toll of the vicious assault,

Defendant SUNY Albany’s and Defendant Benson’s deliberate indifference, and the lost

opportunity to play a sport he loves. He has had to undergo treatment to deal with his distress and

depression resulting from the harm caused by the Defendants.



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         71.   As a result of the assault by Defendant Killings, and Defendant SUNY Albany’s

and Defendant Benson’s discriminatory practices and breach of policy, Fizulich has suffered and

will continue to suffer severe financial distress, emotional distress, anxiety and depression.

         72.   Fizulich has been deprived of his education and participation in basketball due to

the Defendants’ conduct and actions and will experience severe reputational damages for years to

come.

                                               COUNT I
                                          Assault and Battery
                                          (Defendant Killings)

         73.   Fizulich repeats and realleges each and every allegation contained in paragraphs

“1” through “72” as if fully set forth herein.

         74.   On November 24, 2022, Defendant Killings viciously grabbed Fizulich, threw him

against a locker and struck him with force across his face, drawing blood.

         75.   Defendant Killings caused harm to Fizulich through the violent and unlawful

contact, without provocation and/or consent.

         76.   Defendant Killings further placed Fizulich in fear of imminent harm moments

before the vicious and violent assault.

         77.   Fizulich has since suffered severe emotional damages and the loss of educational

and occupational opportunities.

         78.   As a direct and proximate result of Defendant Killings’ conduct, Fizulich sustained

and will continue to suffer tremendous damages including, without limitation, severe emotional

damages, reputational harm, and the loss of educational and occupational opportunities.

         79.   As a result of the foregoing, Fizulich is entitled to compensatory and punitive

damages, in an amount to be determined at trial.


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                                          COUNT II
                              Tortious Interference with Contract
                                     (Defendant Killings)

       80.     Fizulich repeats and realleges each and every allegation contained in paragraphs

“1” through “79” as if fully set forth herein.

       81.     New York law recognizes the existence of an implied contractual relationship

between a State University and students involved in its academic and sports programs, the terms

of which are contained in the university’s bulletins, circulars, and regulations. Doe v. Syracuse,

2022 WL 798058 *6 (N.D.N.Y. March 16, 2022).

       82.     Implicit in its contractual relationship and expressly provided by SUNY Albany’s

policies, Fizulich was promised a safe environment in his continued education and participation in

SUNY Albany’s Men’s Basketball program.

       83.     Fizulich further signed a commitment agreement to participate in SUNY Albany’s

Men’s Basketball program.

       84.     At all relevant times, Defendant Killings had knowledge of Fizulich’s contractual

relationship with the University and knew Fizulich was a student enrolled at the University and a

member of SUNY Albany’s Basketball program.

       85.     Defendant Killings acted outside the scope of his employment when he

intentionally, and without provocation or consent, assaulted Fizulich during a school event.

       86.     Defendant Killings’ intentional acts interfered with, disrupted and/or prevented

Fizulich from continuing his studies at SUNY Albany and from continuing his participation in the

Men’s Basketball program.

       87.     Defendant Killings’ intentional acts interfered, disrupted and/or prevented Fizulich

from continuing his participation in the SUNY Albany Men’s Basketball program, and halted his



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ability from transfer to another Basketball program or to ever reach his potential to play for a

European team.

       88.     As a direct and proximate result of the intentional interference with his contractual

relationships, Fizulich has suffered significant compensatory damages in excess of the statutory

threshold.

       89.     As a further direct and proximate result of Defendant Killings’ intentional

interference with Fizulich’s contractual and prospective contractual relationships, Fizulich has

been required to retain the services of an attorney to prosecute this action and has been damaged

thereby. Fizulich is therefore entitled to an award of reasonable attorney's fees and costs.


                                           COUNT III
                                 Title VI of the Civil Rights Act
                                         (SUNY Albany)

       90.     Fizulich repeats and realleges each and every allegation contained in paragraphs

“1” through “89” as if fully set forth herein.

       91.     Title VI states that “[n]o person in the United States shall, on the ground of race,

color, or national origin, be excluded from participation in, be denied benefits of, or be subjected

to discrimination under any program or activity receiving Federal financial assistance.” 42 U.S.C.

§ 2000d.

       92.     Defendant SUNY Albany receives federal funds and is therefore subject to the

requirements of Title VI.

       93.     Defendant SUNY Albany is not immune from suit because Congress abrogated

sovereign immunity for violations of Title VI. See, 42 U.S.C. §2000d-7(b).




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       94.     Private individuals may sue to enforce Title VI and obtain damages. See, Alexander

v. Sandoval, 532 U.S. 275, 279 (2001); Bibliotechnical Athenaeum v. American University of

Beirut, 527 F.Supp.3d 625 (S.D.N.Y. 2021).

       95.     A Title VI claim requires that a plaintiff show that “(1) the defendant discriminated

on prohibited basis; (2) the discrimination was intentional; and (3) the discrimination was a

substantial or motivating factor for the defendant’s action.” Bibliotechnical Athenaeum, 527

F.Supp.3d at 632, citing to, HB v. Monroe Woodbury Cent. School Dist., 2012 WL 4477552, at

*14 (S.D.N.Y. Sept. 27, 2012) (quoting Faccio v. Eggleston, 2011 WL 3666588, at *9 (N.D.N.Y.

Aug. 22, 2011).

       96.     Here, the facts clearly and unequivocally establish that Defendant SUNY Albany

discriminated against Fizulich, a white student, and a victim of a vicious assault perpetrated by

Defendant Killings, a black coach, when it chose to reverse its decision to terminate Defendant

Killings because of pressure from civil rights leaders in the community, thereby ignoring

Fizulich’s complaint and well-being because of his race.

       97.     By reversing the decision to terminate Defendant Killings, Fizulich was forced to

play under conditions that were unbearable, effectively excluding him from participation in his

beloved sport and denying him the benefits that brought him to SUNY Albany in the first place.

       98.     Defendant SUNY Albany’s actions, intentionally showing preference to one racial

group over another, is a violation of Title VI.

       99.     Fizulich, having no other rational choice but to leave SUNY Albany, has been

unable to transfer to another men’s basketball program, in part due to Defendant SUNY Albany’s

reversal of its decision to terminate Defendant Killings on racial grounds.




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       100.    As a result of Defendant SUNY Albany’s discriminatory practices, Fizulich

sustained and will continue to suffer tremendous damages including, without limitation, loss of

future educational and career opportunities, reputational damage, and severe financial distress,

emotional distress, anxiety, and depression.

       101.    As a result of the foregoing, Fizulich is entitled to compensatory and punitive

damages in an amount to be determined at trial, plus prejudgment interest, attorneys' fees,

expenses, costs, and disbursements.

                                           COUNT IV
                                       Breach of Contract
                                       (Defendant Benson)

       102.    Fizulich repeats and realleges each and every allegation contained in paragraphs

“1” through “101” as if fully set forth herein.

       103.    An express and/or implied contract was created when Fizulich accepted an offer of

admission to SUNY Albany and paid the tuition and fees. Rights and obligations contained in

SUNY Albany’s policies become part of the contract.

       104.    SUNY Albany promised its students, including Fizulich, an environment that is free

of violence and a zero-tolerance policy to handle acts of violence.

       105.    Defendant Benson, as the Athletic Director and supervisory authority over Men’s

Basketball, was required to uphold SUNY Albany’s zero tolerance Violence Prevention Policy.

       106.    Upon information and belief, after the assault by Defendant Killings was confirmed

through SUNY Albany’s investigation, Defendant Benson authorized Defendant Killings’

termination.

       107.    Upon information and belief, Defendant Benson succumbing to the pressure to

reverse termination because of Defendant Killings’ race, reversed his decision to terminate



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Defendant Killings and allowed him to continue to serve as the Head Coach of Men’s Basketball

after a five-game suspension.

       108.    The reversal of termination violated SUNY Albany’s zero tolerance Violence

Prevention Policy, and directly harmed Fizulich by allowing Defendant Killings to maintain

unfettered authority over Fizulich, as a player on SUNY Albany’s Men’s Basketball team. The

violation of SUNY Albany’s Violence Prevention Policy breached the contract between SUNY

Albany and Fizulich.

       109.    By reversing the termination, Defendant Benson created an unsafe environment for

Fizulich and contributed to the damages in this case.

       110.    Fizulich is therefore entitled to recover damages for the breach of express and/or

implied contractual obligations described above, in an amount to be determined at trial, plus

prejudgment interest, attorneys' fees, expenses, costs and disbursements.

                                    PRAYER FOR RELIEF

       WHEREFORE, for the foregoing reasons, Fizulich demands judgment from all

Defendants in the form of compensatory and punitive damages to be determined at trial, including,

without limitation, damages to emotional and psychological well-being, damages to reputation,

loss of educational and athletic opportunities, future economic losses, and loss of future career

prospects.

       Fizulich further seeks prejudgment interest, attorneys' fees, expenses, costs and

disbursements against Defendant SUNY Albany for violations of Title VI, and all other just and

appropriate relief.




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                                        JURY DEMAND

       Fizulich herein demands a trial by jury of all triable issues in the present matter.



Dated: New York, New York
       November 14, 2022
                                                      Respectfully Submitted,
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